                                                                                                                                                                 Filed
                                                                                                                                         File Date: 1/19/2022 5:19 PM
                Case 1:22-cv-00043-SM Document 5-1 Filed 02/25/22 Page 1 of 2                                                                 Grafton Superior Court
                                                                                                                                                    E-Filed Document




                                   THE STATE OF NEW HAMPSHIRE

      GRAFTON, SS                                                   SUPERIOR COURT
                                                                    DOCKET NO. 215-2022-CV-00014
                                                                                                  Granted


                                                                                         Honorable Lawrence A. MacLeod, Jr.
                                                                                               January 21, 2022




                                                                                                                                 Granted
                                                   Plaintiff,

215-2022-CV-00014                                      v.
                                                                                      Honorable Lawrence A. MacLeod, Jr.
                                    TOWN OF LISBON, and             January 21, 2022

                            NEW HAMPSHIRE DEPARTMENT OF JUSTICE,
                                         Defendants.             Clerk's Notice of Decision
                                                                                       Document Sent to Parties
                                      EX PARTE MOTION TO SEAL                          on 01/24/2022
             NOW COMES the Plaintiff,                             by and through his counsel, Cooper

      Cargill Chant, P.A., and hereby moves that this Court seal the docket and all pleadings in this

      matter, and in support thereof submits as follows:

      1.     This action is being filed pursuant to RSA 105:13-d, to protect the Plaintiff’s State and

             Federal Constitutional rights, and to remove his name from the so-called Exculpatory

             Evidence Schedule (also known as the “Laurie List”).

      2.     The Plaintiff is concerned that publicly having his name as plaintiff will undercut any

             relief obtained in this matter, and will further jeopardize his ability to obtain future

             employment in the criminal justice and policing field – even if he is fully vindicated in

             this matter.

      3.     When determining whether to seal a case, “the burden of proof rests with the party

             seeking closure...to demonstrate with specificity that there is some overriding

             consideration or special circumstance, that is, a sufficiently compelling interest, which

             outweighs the public’s right of access to those records.” In re Keene Sentinel, 136 N.H.

             121, 128 (1992) (citation omitted).
                                                                                                                              True Copy Attest

                                                                                                                              David P. Carlson, Clerk of Court
                                                                                                                                    February 4, 2022
        Case 1:22-cv-00043-SM Document 5-1 Filed 02/25/22 Page 2 of 2




4.    The plaintiffs’ interest in having this lawsuit be filed under seal, while his Constitutional

      rights are vindicated, is a compelling interest that outweighs the right of the public’s right

      of access to this litigation’s docket.

      The WHEREFORE, the Plaintiff respectfully requests that this Court:

A.        Seal the Docket and all pleadings in this matter, until further order of this Court; and

B.        Grant such further relief as is just and equitable.

                                               Respectfully submitted,

                                               PLAINTIFF,
                                                                      ,
                                               By His Attorneys,

                                               COOPER CARGILL CHANT, P.A.

                                               /s/ Christopher T. Meier
Dated: September 2, 2021
                                               Christopher T. Meier, Bar ID # 17136
                                               2935 White Mountain Highway
                                               North Conway, New Hampshire 03860
                                               Tel: (603) 356-5439
                                               Fax: (603) 356-7975
                                               Email: cmeier@coopercargillchant.com




                                                                             True Copy Attest

                                                                             David P. Carlson, Clerk of Court
                                                                                   February 4, 2022




                                                  2
